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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
TAWANNA ROBERTS, individually                         :
 and on behalf of all others similarly                :
situated,                                             :        Case No.: 1:17-cv-09452
                                                      :
                                    Plaintiff,        :
v.                                                    :
                                                      :        CLASS ACTION COMPLAINT
                                                      :        JURY TRIAL DEMANDED
STARZ ENTERTAINMENT, LLC                              :
                                                      :
                                                      :
                                    Defendant.        :
                                                      :
------------------------------------------------------X

        Plaintiff Tawanna Roberts, on behalf of herself and all others similarly situated, sues

defendant STARZ ENTERTAINMENT, LLC (“Starz”) and alleges:

                                            INTRODUCTION

        1)       Starz, a video content provider, prominently advertises to consumers, on both its

app and website: “7 day free trial. No commitment. Cancel anytime.”

        2)       Starz lures consumers into signing up for its supposedly “free” 7-day trial. But

then it makes it difficult or impossible to cancel the supposedly “free trial,” causing customers

to pay for a service they never wanted to pay for.

        3)       Starz does not provide customers with easy-to-use mechanisms for cancellation,

such as toll-free telephone numbers or email addresses. Worse, the mechanisms it does provide

are essentially useless for the purpose of cancelling a trial subscription.

        4)       Moreover, Starz repeatedly renews subscriptions on a monthly basis, without

ever notifying consumers prior to each renewal, which it automatically charges to the credit

card on file. This violates New York’s law on automatic renewals.


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       5)      Plaintiff asserts this action pursuant to Fed. R. Civ. P. 23, on behalf of herself

and all others similarly situated, for damages and other relief arising from Starz’s routine

practice of charging consumers for its services without their consent.

                                           PARTIES

       6)      Plaintiff Tawanna Roberts is a citizen and resident of the State of New York in

Bronx County and signed up for a free 7-day trial on the Starz app.

       7)      Starz Entertainment, LLC (“Starz”) is organized and exists under the laws of the

State of Colorado with its principal place of business in Englewood, Colorado. Starz is “a

leading global media and entertainment company that provides premium subscription video

programming on domestic U.S. pay television networks and produces and distributes content

for worldwide audiences, including its investment in the STARZ PLAY Arabia OTT service.

Starz is home to the flagship STARZ® brand and STARZ ENCORE channels and provides

high-quality, entertaining premium subscription video programming with 17 premium pay TV

channels and associated on-demand and online services, including the STARZ app. Sold

through U.S. multichannel video distributors, including cable operators, satellite television

providers, telecommunications companies, and other online and digital platforms, Starz offers

subscribers more than 5,000 distinct premium television episodes and feature films every year

and up to 1,500 every month, including STARZ Original series, first-run movies and other

popular movie and television programming.” Starz is headquartered in Englewood, CO.

                                        JURISDICTION

       8)      This Court has original jurisdiction of this action under the Class Action

Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has original

jurisdiction because the aggregate claims of the members of the putative Class exceed $5



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million, exclusive of costs, and at least one of the members of the proposed Class is a citizen of

a different state than Defendant.

        9)      Starz regularly and systematically provides video entertainment services

throughout the State of New York, including in this district. As such, it is subject to the

jurisdiction of this Court.

                                               VENUE

        10)     Venue is likewise proper in this district pursuant to 28 U.S.C. § 1391 because

Starz & Co. is subject to personal jurisdiction in this Court and regularly conducts business

within this district through its numerous branches, and because the complained-of conduct

occurred in this District.

                                              OVERVIEW

The Sign Up Process

        11)     On its website and app, Starz prominently advertises a 7-day “free trial.”

        12)     There is a quick two-step sign up process, but Starz never requires clients to

view or knowingly consent to any contract during the process.

        13)     Indeed, it asks consumers only to create an account and enter payment

information in order to start a free trial:




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       14)     Subsequently, Starz sends an email stating: “Your credit card will be

billed $8.99 when your trial expires on [date]. Please keep this email for your records. If you

have any questions, please contact help@starz.com. Thanks for your purchase.”

Starz Makes Consumers Face an Epidemic of Ignored Cancellation Requests

       15)     Plaintiff Roberts signed up for a 7-day free trial on the Starz app on September

3, 2017.

       16)     Two days later Plaintiff Roberts went back into the app to cancel her free trial.

       17)     Starz ignored her cancellation request, and on September 10, 2017, without

prior notification, Starz charged Plaintiff $8.99 for a one month subscription. Despite

Plaintiff’s repeated requests to cancel her service since then, Starz has continued to charge

Plaintiff on a monthly basis.

       18)     Plaintiff’s experience is by no means unique.

       19)     On just one online complaints website, there are dozens of complaints regarding

experiences just like Plaintiff Roberts’:

                                                 4 
 
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Posted: Oct 27, 2017 by           Frances Nolan

billing

Warning! if ever you decide to purchase starz, do not! i purchased a free trial and canceled
before the 7day trial was up through google because starz wouldnt let me due to it kept saying i
had no subscription to cancel. Spoke with google to ensure that it was canceled to keep from
being billed. She sent email receipt as my proif!! also contacted starz to let them know it stated i
had no subscriptiin to cancel, so rep walked me through to see if i canceled correctly and stated
that im correct dont have a active subscription. She then sent in a ticket saying it must be a
glitched. While waiting for response, they went in my account, and took funds. Contacted them
bck and they told me i had to wait 30 days due to them working on my ticket in tier 2 dept.
They then responded by saying they cant refund because i hve starz on a app which they couldnt
find. They then charge me again the following month. Now im pissed!!! because their taking
my funds and i dont have service which i then contacted again and sent email from google
showing free trial cancelation before date, and also sent shots from starz rep of their website
saying no subscription and bank screen shot. Once a tier 2rep from starz contacted me by email
saying that they will look into again. I then received email saying no refund because i need to
search to see somewhere i have starz... Wow!! 3weeks later i get a email say their looking into it
to recend any emails and screen shot of my account that they debited twice. I did that the same
day the next day i get email saying they will refund me half of my money back in 3-5 days. I
call them back to send me paper check cause i had to cancel that card and get a new one to keep
from them biling my card monthly. She then tells me that that their showing that they been
denied me although im reading from their email for the same day, stating they will refund my
money. So unless you have free money to give away, they make it hard to cancel and they dont
have a liable way of really speaking to someone to cancel or resolve an issue. I will never ever
purchase starz again no matter what!!! be careful...



Posted: Oct 19, 2017 by           Jules Knight

starz scam of free trial on app - case #265023
Englewood, Colorado
United States
starz.com




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On 10/13/17 I downloaded the app for a free trial. It did not work with my phone and I have
the screen shot to prove it. I immediately canceled my subscription. I got an email back with
instructions on how to cancel and if I had any trouble, to email back or call the customer
service line.

None of the instructions worked and I have now been trying to cancel ever since. No one
responds to the emails and no one ever picks up on their customer service line, 1-855-247-
9175. I have called many many times. I was just on hold for 22 minutes and no one picked up.

Starz tested my back account twice with a $1.00 charge and I immediately called my bank.
Then the y charge me the $8.99 fee on 10/16/17 even though I have canceled about 10 times
before the deadline of being charged.

This is horrible service. I also think a total scam to get people locked into paying because you
can't get in touch with a person to help you cancel.

I am of course disputing the charge and will continue to until this is canceled. I think you
figure that it's only $8.99 and if it's too much of a pain in the butt the cancel, i'll just pay it.
Nope. Not happening. Cancel this now.



Starz Entertainment

Starz Entertainment Contacts & Information

Posted: Oct 5, 2017 by             Yolanda KingSuperiorone Grant

still billing even though I cancelled

Apparently; the only way they can get money is to steal it. Then act as if this practice is
acceptable. My bank account has been debited twice even though I cancelled and submitted
proof. Calling customer service is anothe joke and sending emails is worse. They just keep
acting as if they are doing nothing; but taking my money without permission. I call that theft
and fraud. I would be arrested if I did that; so I’m calling for their arrest!



Posted: Sep 11, 2017 by             Mark Bailey Jr

subscription


Fort Eustis, Virginia, United States



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I subscribed to the free trial you guys offered, which was a week long, and decided it didn't
offer much so 2 days later, I canceled the subscription but was still charged today. I called
customer service several of times but there was no answer, I even stayed on the phone for 25
minutes without a response. I would like a refund for the $8.99 I was charged.



Posted: Aug 18, 2017 by            Kai Nelson

the stars program


North Charleston, South Carolina
United States

I signed up for the 7 trial the month of july I the first week and cancelled but o am still getting
billed i spent three times trying to contact customers Service and spent anywhere from 10 min
to 30 mins waiting on someone to answer about this matter and still don't have this resolved.
Please cancel my membership n refund my funds back to me this is not professional not to get
in contact with a person to resolve this issue. Thank you



Starz Entertainment

Starz Entertainment Contacts & Information

Posted: Aug 18, 2017 by                 Clara Gomez

starz app

Complaint Rating: 0 % with 0 votes

Contact information:

Brooklyn, New York

United States

I tried to cancel the starz app downloaded by Google play store but there was no subscription yet
I was charged 8.99 can u return the funds. I also had a very hard time contacting your customer
service number, they hung up on me while waiting 11+ mins x2 calls. I am a optimum customer
who has starz via my cable service. thank you have a great day bye...




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Posted: Aug 6, 2017 by             Markisha Lewis

7 day trial subscription
Englewood, Colorado
United States

I decided to try the 7day subscription and I cancelled subscription before the seven days ended
and was billed $9.71. I contacted customer service and explained the situation I was told I had
two subscriptions one through my android and one through a computer and only one was
cancelled and I would have to cancel the other one through the computer. I explained to her that
I didn't even have computer access so that made zero sense yet she was adamant that I still owed
the 9.71 that I was charged. I informed her that I wanted to make it perfectly clear that I no
longer wanted any starz services at which time she informed me she would send this "other"
account to another department to have it deactivated. That was on 7-20-17 I was just charged
another $9.71 on 8-03-17. I demand a refund! Your practices are unethical. I will be contacting
the BBB because this is not okay. You cannot force someone to continue to pay for a service
they do not want.




Posted: Jul 18, 2017 by            Terrimw32

incorrectly billed
Complaint Rating:
Contact information:


Los Angeles, California
United States

I opted in for Starz Free 7 Day Trial on Monday Jul 10th.I cancelled the subscription of July
16th, and it said "Cancel now and still access until Jul 17th." I did just that, but it still charged
me. I do not wish to use the subscription, and I want a refund. I've always been trying to call
the company, and it is hard to get through. I was honestly charged before the 17th.

20) There are also numerous complaints on Twitter:




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                              CLASS ACTION ALLEGATIONS

20) Plaintiff brings this action on her own behalf and all others similarly situated pursuant to

    Fed. R. Civ. P. 23. The Classes include:

        All persons who signed up for a “7-day free trial” who, within the applicable statute of
limitation preceding the filing of this lawsuit, cancelled their subscription on or before the 7th
day of the trial.
       (The “Nationwide Free Trial Class”)




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       All persons in the State of New York who signed up for a “7-day free trial” who, within
the applicable statute of limitation preceding the filing of this lawsuit, cancelled their
subscription on or before the 7th day of the trial.
        (The “New York Free Trial Class”)


        All persons in New York who, within the applicable statute of limitation preceding the
filing of this lawsuit, were automatically charged for at least one monthly subscription by Starz
without receiving prior notification.
        (The “New York Automatic Renewal Class”)


        21)     Excluded from the classes are Defendant, its subsidiaries and affiliates, their

officers, directors and member of their immediate families and any entity in which Defendant

has a controlling interest, the legal representatives, heirs, successors or assigns of any such

excluded party, the judicial officer(s) to whom this action is assigned, and the members of their

immediate families.

        22)     Plaintiff reserves the right to modify or amend the definition of the proposed

Classes and/or to add Subclasses if necessary before this Court determines whether

certification is appropriate.

        23)     This case is properly brought as a class action under Fed. R. Civ. P. 23(a) and

(b)(3), and all requirements therein are met for the reasons set forth in the following

paragraphs.

        24)     Numerosity under Fed. R. Civ. P. 23(a)(1). The members of the Classes are so

numerous that separate joinder of each member is impracticable. Upon information and belief,

and subject to class discovery, the Classes consist of thousands of members or more, the

identity of whom are within the exclusive knowledge of and can be ascertained only by resort

to Starz’s records. Starz has the administrative capability through its computer systems and

other records to identify all members of the Classes, and such specific information is not

otherwise available to plaintiff.
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       25)      Commonality under Fed. R. Civ. P. 23(a)(2). There are numerous questions of

law and fact common to the Classes relating to Starz’s usurious business practice at issue

herein and those common questions predominate over any questions affecting only individual

Class members. The common questions include, but are not limited to:

                a) Whether Starz improperly ignores cancellation requests; and

                b) Whether Plaintiff and other members of the Class have sustained damages

                    as a result of Starz’s wrongful business practices described herein, and the

                    proper measure of damages.

       26) Typicality under Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the

claims of the other Class members in that they arise out of the same wrongful business practice

by Starz, as described herein.

       27) Adequacy of Representation under Fed. R. Civ. P. 23(a)(4). Plaintiff is more than

an adequate representative of the Classes in that she was improperly charged for Starz’s

services and has suffered damages as a result of Starz’s improper business practices. In

addition:

             a) Plaintiff is committed to the vigorous prosecution of this action on behalf of

                herself and all others similarly situated and has retained competent counsel

                experienced in the prosecution of class actions and, in particular, class actions

                on behalf of consumers;

             b) There is no conflict of interest between Plaintiff and the unnamed Class

                members;

             c) They anticipate no difficulty in the management of this litigation as a class

                action; and



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             d) Plaintiff’s legal counsel has the financial and legal resources to meet the

                substantial costs and legal issues associated with this type of litigation.

       28)      Predominance under Fed. R. Civ. P. 23(b)(3). The questions of law and fact

common to the Classes as set forth in the “commonality” allegation above predominate over

any individual issues. As such, the “commonality” allegations (paragraph 21 and subparts) are

restated and incorporated herein by reference.

       29)      Superiority under Fed. R. Civ. P. 23(b)(3). A class action is superior to other

available methods and highly desirable for the fair and efficient adjudication of this

controversy. Since the amount of each individual Class member’s claim is very small relative

to the complexity of the litigation and since the financial resources of Starz are enormous, no

Class member could afford to seek legal redress individually for the claims alleged herein.

Therefore, absent a class action, the Class members will continue to suffer losses and Starz’s

misconduct will proceed without remedy. In addition, even if Class members themselves could

afford such individual litigation, the court system could not. Given the complex legal and

factual issues involved, individualized litigation would significantly increase the delay and

expense to all parties and to the Court. Individualized litigation would also create the potential

for inconsistent or contradictory rulings. By contrast, a class action presents far fewer

management difficulties, allows claims to be heard which might otherwise go unheard because

of the relative expense of bringing individual lawsuits, and provides the benefits of

adjudication, economies of scale and comprehensive supervision by a single court.

       30)      All conditions precedent to bringing this action have been satisfied and/or

waived.




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                           BREACH OF EXPRESS WARRANTY
                (On behalf of Plaintiff and the Nationwide Free Trial Class and
                                the New York Free Trial Class)

          31)   Plaintiff incorporates the preceding allegations by reference as if fully set forth

herein.

          32)   Plaintiff and the members of the Nationwide Free Trial Class and the New York

Free Trial Class (collectively the “Free Trial Classes”) contracted with Starz for a 7 day free

trial of premium subscription video programming services.

          21)   Included in that contract was the following promise made by Starz: “No

commitment. Cancel anytime.” This promise was an express warranty by Starz with respect to

a material fact. Had Plaintiff and the members of the Free Trial Classes known the free trial

could not, in fact, be canceled anytime, and that they would be charged $8.99 every month

thereafter, they would not have agreed to the 7 day free trial. This warranty formed the basis of

the bargain in the contract between Plaintiff and the members of the Free Trial Classes and

Starz.

          33)   Starz breached its warranty by refusing to honor cancellation requests, putting

up artificial barriers to cancelling, and otherwise preventing Plaintiff and the members of the

Free Trial Classes from cancelling the trial and avoiding charges.

          34)   Plaintiff and the members of the Free Trial Classes have sustained monetary

damages as a result of Starz’s breach. Starz's conduct caused Plaintiff and the members of the

Free Trial Classes to suffer ascertainable losses in the form of subscription fees that, but for

Starz's breach of warranty, would not otherwise have been imposed.




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                                   VIOLATION OF GBL 349
                (On behalf of Plaintiff and the New York Free Trial Class and the
                              New York Automatic Renewal Class)

          35)     Plaintiff incorporates the preceding allegations by reference as if fully set forth

herein.

          36)     This claim is asserted on behalf of Plaintiff and the members of the the New

York Free Trial Class and the New York Automatic Renewal Class (the “New York Classes”)

under New York's consumer protection law, New York General Business Law § 349, et seq.

(“GBL § 349”).

          37)     Starz engaged in deceptive acts or practices relating to the imposition of

subscription fees on consumers, in violation of GBL § 349, N.Y. Gen. Bus. Law § 349(a).

          38)     GBL § 349 prohibits “[ d]eceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service.” Id.

          39)     Starz engaged in deceptive acts or practices, unlawful conduct, made

affirmative misrepresentations, or otherwise violated GBL § 349 by, inter alia, knowingly and

intentionally employing an unfair and deceptive policy and practice of promising a free 7-day

trial, but then preventing consumers from cancelling the trial and avoiding charges.

          40)     Starz also engaged in unlawful conduct, made affirmative misrepresentations, or

otherwise violated GBL § 349 by, inter alia, refusing to honor cancellation requests or putting

up artificial barriers to cancelling.

          41)     Starz’s deceptive acts or practices were “consumer-oriented.” E.g., Wilson v.

Northwestern Mut. Ins. Co., 625 F.3d 54, 64 (2d Cir. 2010) (quoting Oswego Laborers' Local

214 Pension Fund v. Marine Midland Bank, NA., 85 N.Y.2d 20, 623 N.Y.S.2d 529, 532-33,

647 N.E.2d 741 (1995)).



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       42)     Starz intended that Plaintiff and the members of the New York Classes rely on

the acts of concealment and deception, so that Plaintiff and the members of the New York

Classes would incur subscription fees.

       43)     Starz's conduct caused Plaintiff and the members of the New York Classes to

suffer ascertainable losses in the form of subscription fees that, but for Starz's unfair and

deceptive policies, would not otherwise have been imposed.

       44)     A causal relationship exists between Starz's unlawful conduct and the

ascertainable losses suffered by Plaintiff and the members of the New York Classes. Had Starz

kept the promises contained in its “free trial” marketing Plaintiff and the members of the New

York Classes would not have incurred subscription fees in violation of GBL § 349.

       45)     As redress for Starz's repeated and ongoing violations of GBL § 349, Plaintiff

and the New York Classes are entitled to, inter alia, actual damages, treble damages,

declaratory relief, and reasonable attorney's fees. N.Y. Gen. Bus. Law. § 349(h).



       WHEREFORE, Plaintiff demands judgment against Defendant for themselves and the

Class members as follows:

               (a)     Certifying this matter as a class action pursuant to Fed. R. Civ. P. 23;

               (b)     Designating Plaintiff as an appropriate Class representative;

               (c)     Awarding Plaintiff and the Class damages (including twice the amount

                       of the usurious interest paid), prejudgment interest from the date of loss,

                       and their costs and disbursements incurred in connection with this

                       action, including reasonable attorney’s fees, expert witness fees and

                       other costs; and

               (d)     Granting such other relief as the Court deems just and proper.

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